Case 2:18-cv-13761-SFC-APP ECF No. 31 filed 03/04/19 Page|D.357 Page 1 of 2

UN|TED STATES D|STR|CT COURT
FOR THE EASTERN D|STR|CT OF |V|ICH|GAN
SOUTHERN D|V|S|ON

|V|ARK H|GBEE, CASE NO. 2:"18-CV-'| 3761

Plaintif'f, JUDGE SEAN F. COX
NIAG. JUDGE ANTHONY P. PATT|
V

EASTERN IV||CH|GAN UN|VERS|TY, THE

BOARD OF REGENTS OF EASTERN |V||CH|GAN
UN|VERS|TY, JA|V|ES S|V|ITH, JAMES CARROLL,
WADE TORNQU{ST1 JOL|NE DAVlS, DAVID TURNER,
DAV|D WO|KE, RHONDA LONGWORTH, |VIICHELLE
CRU|VHV|, |V|ARY TREDER LANG, DENN|S BEAGEN,
lV||CH/-\EL H/D\WKS1 EUNICE JEFFR|ES, M|CHAEL
NIORR|S, JA|V|ES WEBB AND ALEXANDER S||V|PSON,

 

Defendants.
Law Office of Glen N. Lenhoff Dykema Gossett, PLLC
By: G|en N. Lenhoff (P32610) By: James Hermon (P53765)
Robert Kent-Bryant (P40806) Ryan VanOver (P82007)
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PLA|NT|FF N|ABK HlGBEE’S ANSWER TO DEFENDANTS §ASTERN
NllCHlGAN UN|VERS|TY ANQ THE BOARD OF REGENTS’ N|OTION TO
DlSM|SS PURSUANT TO FED. R. ClV. P. 12|B|¢6|

CaSe 2:18-cv-13761-SFC-APP ECF No. 31 filed 03/04/19 PagelD.358 Page 2 of 2

For the reasons set forth in the attached Brief in Support of Plaintiff’s
Answer to Defendants Eastern lVlichigan University and the Board of
Regents’ lVlotion to Dismiss Pursuant to Fed. R. Civ, P. 12(B)(6), P|aintiff

respectfully requests this Honorable court deny the aforestated motion.
Respectfully submitted,

l§/__C_:`len N. l___enhoff /s/Robert D. Kent-Brvant

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LaW Office of Glen N. Lenhoff Law Office of Glen N. Lenhoff
Attorney for Plaintiff Attorney for Plaintiff

Dated: 03/01/19 Dated: 03/01/19

G:ICL|ENTS!HigbeeIans to mm to dismiss - ENlU

